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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO
                                 Judge Raymond P. Moore

  Civil Action No. 16-cv-00671-RM-NRN

  Consolidated with Civil Case No. 17-cv-01602-RM-NRN for Settlement Approval

  ISABEL VALVERDE;
  MARIA SONIA MICOL SIMON; and those similarly situated,

         Plaintiffs,

  v.

  XCLUSIVE STAFFING, INC., et al.,

        Defendants.
  ______________________________________________________________________________

                                     ORDER
  ______________________________________________________________________________

         This matter is before the Court upon consideration of the recent filings, namely: (1)

  Plaintiff Simon’s letter, construed as a motion, requesting the status of her case (ECF No. 277),

  which was filed pro se; and (2) the motions to withdraw as counsel for Plaintiff Simon by her

  attorneys of record (ECF Nos. 278, 279). Starting with Ms. Simon’s motion, it is unclear to the

  Court why Ms. Simon does not know the status of this case, or apparently the status of her earlier

  motion (ECF No. 274), as these matters are addressed in this Court’s Order of February 22, 2019

  (ECF No. 275). Regardless, Plaintiffs’ counsel is directed to mail (by regular mail and email) a

  copy of this Order and the Order of February 22, 2019 to Ms. Simon forthwith. Upon the

  completion of such mailing, Plaintiffs’ counsel shall file a certificate of service of such mailing.

  Ms. Simon’s motion (ECF No. 277) is therefore DENIED.
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         As for counsels’ motions to withdraw, the Court will defer ruling on those motions until

  after Ms. Simon has been sent a copy of the referenced Orders.

         SO ORDERED.

         DATED this 26th day of February, 2019.

                                                     BY THE COURT:



                                                     ____________________________________
                                                     RAYMOND P. MOORE
                                                     United States District Judge




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